                                 Case 3:11-cv-04454-SI
                          Case 2:09-cv-02158-CJC       Document
                                                  Document 110-1 28-11   Filed 09/26/14
                                                                 Filed 06/11/14  Page 1 ofPage 1 of 17
                                                                                           17 Page   ID #:4885



                                                     Death Sentences in California, 1978 – 1997 1

Between 1978 and 1997, 591 death judgments were imposed by the State of California. This chart describes the current case status of the 496 individuals
sentenced in that time period whose death sentences have not been overturned by the California Supreme Court (unless subsequently reinstated) and whose post-
conviction proceedings have not been stayed to determine their mental competency to face the death penalty. Of these 496 individuals, 13 were executed by the
State (Red), 18 had relief denied by the federal courts but have had their executions stayed (Pink), 37 had their death sentences vacated by the federal courts and
are no longer on Death Row (Blue), 80 died on Death Row from causes other than execution by the State of California (Orange), 167 are currently having their
habeas petitions evaluated by federal district courts (Green) or the Ninth Circuit Court of Appeals (Purple), and 181 are still having their appeals reviewed by the
California Supreme Court, either on direct or collateral review (Yellow). The chart is current through April 2014. 2



                                                                    Date Federal
                                                        Federal     Habeas                                                                                   Years
                      Date           Federal Case       Judicial    Proceedings                                                                               Since
Name                  Sentenced      Number             District    Initiated 3      Current Case Status                                                 Sentenced
Lavell Frierson        8/14/1978     92-06251 DDP       Central       10/19/1992     Relief Granted (2007)                                                        --
Doug Stankewitz       10/12/1978     91-00616 AWI       Eastern       11/15/1991     Relief Granted (2012)                                                        --
Ronald Bell             3/2/1979     99-20615 RMW       Northern        4/12/1991    CD Cal Petition Pending                                                     35
Robert Harris           3/9/1979     90-00380 E         Southern        3/26/1990    Executed (1992)                                                              --
Earl Jackson            3/19/1979 95-03286 ER           Central        5/17/1995 Relief Granted (2008) / Resentenced to Death (2010)                              35
Keith Williams          4/13/1979 89-00160 REC          Eastern        2/22/1989 Executed (1996)                                                                   --
David Murtishaw        4/27/1979     91-00508 OWW       Eastern        9/10/1991 Relief Granted (2001) / Resentenced to Death / Deceased (2011)                    --
Robert Massie          5/25/1979     99-02861 CAL       Northern       6/14/1999 Executed (2001)                                                                   --
Richard Chase           6/8/1979                                                 Deceased (1980)                                                                   --
Stevie Fields          8/29/1979     92-00465 AHM       Central        1/23/1992 Relief Denied (2007) / Execution Stayed                                          35
David Ghent           10/30/1979     90-02763 RMW       Northern       9/26/1990 Relief Granted (2002)                                                             --
Richard Montiel       11/20/1979     96-05412 LJO       Eastern        4/22/1996 ED Cal Petition Pending                                                          35
James Anderson        11/30/1979     03-07948 JLS       Central        11/4/2003 CD Cal Petition Pending                                                          35
Steven Ainsworth       1/30/1980     90-00329 LKK       Eastern        3/16/1990 Relief Granted (2001)                                                             --
Richard Phillips       2/20/1980     92-05167 AWI       Eastern         3/4/1992 Relief Granted (2012)                                                             --
Alejandro Ruiz         2/21/1980     89-04126 FMC       Central        7/11/1989 Deceased (2007)                                                                   --
David Moore            4/30/1980                                                 Deceased (1980)                                                                   --
Marvin Walker           9/8/1980     94-01997 PJH       Northern        6/7/1994 ND Cal Petition Pending                                                          34

                                                                                 1
                               Case 3:11-cv-04454-SI
                        Case 2:09-cv-02158-CJC       Document
                                                Document 110-1 28-11   Filed 09/26/14
                                                               Filed 06/11/14  Page 2 ofPage 2 of 17
                                                                                         17 Page   ID #:4886


Darrell Rich          1/23/1981   89-00823 EJG   Eastern     6/12/1989 Executed (2000)                                        --
Jerry Bunyard          2/2/1981                                        State Proceedings Pending                             33
Bernard Hamilton       3/2/1981   92-00474 B     Southern    3/31/1992 Relief Granted (1994) / Resentenced to Death (1996)   33
Lawrence Bittaker     3/22/1981   91-01643 TJH   Central     3/27/1991 CD Cal Petition Pending                               33
Harvey Heishman       3/30/1981   90-01815 VRW   Northern    6/26/1990 Relief Denied (2010) / Execution Stayed               33
Eric Kimble            4/6/1981   90-04826 SVW   Central      9/7/1990 CD Cal Petition Pending                               33
Stanley Williams      4/15/1981   89-00327 SVW   Central     1/18/1989 Executed (2006)                                        --
Robert McLain         5/12/1981   89-03061 JGD   Central     5/18/1989 Relief Granted (1998)                                  --
Joe Johnson           5/28/1981                                        State Proceedings Pending                             33
Anthony Bean          7/20/1981   90-00648 WBS   Eastern     5/18/1990 Relief Granted (1998)                                  --
Stephen Anderson      7/24/1981   92-00488 JGD   Central     1/24/1992 Executed (2002)                                        --
Oscar Gates            8/7/1981   88-02779 WHA   Northern    7/14/1988 ND Cal Petition Pending                               33
Michael Burgener       9/4/1981   10-03399 GHK   Central      5/6/2010 State Proceedings Pending                             33
Ronald Hawkins        9/20/1981                                        Deceased (1983)                                        --
Billy Ray Hamilton   10/16/1981   89-03758 THE   Northern    10/4/1989 Deceased (2007)                                        --
John Davenport        11/4/1981   96-06883 DSF   Central     9/30/1996 State Proceedings Pending                             33
Russell Coleman      11/20/1981   89-01906 RMW   Northern     6/2/1989 Relief Granted (2000)                                  --
Edgar Hendricks       12/4/1981   89-02901 EFL   Northern     8/7/1989 Relief Granted (1995)                                  --
Gary Guzman          12/22/1981                                        Deceased (1991)                                        --
Fernando Caro          1/5/1982   93-04159 JW    Northern   11/23/1993 Relief Granted (2002)                                  --
Bluford Hayes Jr.     1/22/1982   92-00603 DFL   Eastern     4/14/1992 Relief Granted (2005)                                  --
Phillip Lucero        1/26/1982   01-02823 VAP   Central     3/27/2001 CD Cal Petition Pending                               32
Richard Hovey         2/10/1982   89-01430 MHP   Northern    4/26/1989 Relief Granted (2006)                                  --
Carlos Avena          2/12/1982   96-08034 GHK   Central    11/15/1996 Circuit Appeal Pending                                32
Albert Brown          2/22/1982   94-08150 ABC   Central     12/5/1994 Relief Denied (2008) / Execution Stayed               32
Willie Branner        2/26/1982   90-03219 DLJ   Northern    11/9/1990 ND Cal Petition Pending                               32
Rondald Sanders        3/3/1982   92-05471 LJO   Eastern     7/13/1992 ED Cal Petition Pending                               32
William Payton         3/5/1982   94-04779 R     Central     7/18/1994 Relief Denied (2011) / Execution Stayed               32
William Bonin         3/12/1982   91-00693 ER    Central      2/7/1991 Executed (1996)                                        --
Benjamin Silva        3/15/1982   90-03311 DT    Central     6/26/1990 Relief Granted (2005)                                  --
Darnell Lucky          4/7/1982   91-00583 TJH   Central      2/1/1991 CD Cal Petition Pending                               32
Richard Boyde         4/20/1982   91-02522 GPS   Central      5/9/1991 Relief Granted (2008)                                  --


                                                                      2
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11   Filed 09/26/14
                                                              Filed 06/11/14  Page 3 ofPage 3 of 17
                                                                                        17 Page   ID #:4887


Melvin Wade          5/21/1982   89-00173 R     Central                  Relief Granted (1994)                                  --
George Carpenter     5/21/1982                                           Deceased (1984)
Gary Howard          5/27/1982   88-07240 WJR   Central     12/8/1988    Relief Granted (1996)                                  --
Richard Grant        5/28/1982   90-00779 JAM   Eastern     6/18/1990    Relief Granted (2010)                                  --
John Brown           6/15/1982   90-02815 AHS   Central      6/1/1990    CD Cal Petition Pending                               32
Manuel Babbitt        7/8/1982   89-01407 WBS   Eastern      8/1/1989    Executed (1999)                                        --
Mose Willis          7/26/1982                                           Deceased (1988)                                        --
Prentice Snow        8/31/1982                                           State Proceedings Pending                             32
Adam Miranda         9/17/1982   89-07130 JLS   Central    12/11/1989    CD Cal Petition Pending                               32
James Karis          9/17/1982   89-00527 LKK   Eastern     4/13/1989    Relief Granted (1998) / Resentenced to Death (2007)    --
James Karis          9/17/1982                                           Deceased (2013)                                        --
Brett Pensinger      9/20/1982   92-01928 DSF   Central     3/30/1992    Circuit Appeal Pending                                32
Fernando
Belmontes            10/6/1982   89-00736 JAM   Eastern     5/25/1989 Relief Denied (2010) / Execution Stayed                  32
Bronte Wright       10/29/1982   92-06918 AHM   Central    11/20/1992 Deceased (2000)                                           --
Ronald Deere        11/10/1982   92-01684 CAS   Central     3/18/1992 Circuit Appeal Pending                                   32
Joseph Poggi        11/12/1982                                        Deceased (1990)                                           --
Clarence Allen      11/22/1982   88-01123 FCD   Eastern     8/31/1988 Executed (2006)                                           --
Ricardo Sanders      12/3/1982   96-07429 JFW   Central    10/22/1996 Circuit Appeal Pending                                   32
Craig Ross          12/10/1982   96-02720 SVW   Central     4/16/1996 CD Cal Petition Pending                                  32
Steven Champion     12/10/1982   96-02845 SVW   Central     4/22/1996 State Proceedings Pending                                32
Michael Hamilton    12/17/1982   90-00363 OWW   Eastern     6/12/1990 Relief Granted (2009)                                     --
Maurice Keenan       1/21/1983   89-02167 DLJ   Northern    6/22/1989 Relief Granted (2001)                                     --
Ronald Fuller         2/3/1983                                        Deceased (1989)                                           --
Denny Mickle         2/24/1983   92-02951 THE   Northern    7/30/1992 ND Cal Petition Pending                                  31
Douglas Clark        3/16/1983   92-06567 PA    Central     11/3/1992 CD Cal Petition Pending                                  31
James Melton         3/18/1983   89-04182 RMT   Central     7/13/1989 Relief Granted (2007)                                     --
Michael Williams      4/1/1983   90-01212 R     Southern    8/31/1990 Relief Granted (1993)                                     --
Jaturun Siripongs    4/22/1983   89-06530 WDK   Central     11/9/1989 Executed (1999)                                           --
Malcolm Robbins      5/12/1983   91-04748 TJH   Central      9/4/1991 CD Cal Petition Pending                                  31
Larry Roberts        5/27/1983   93-00254 TLN   Eastern     2/18/1993 ED Cal Petition Pending                                  31
Larry Webster         6/9/1983   93-00306 LKK   Eastern     2/25/1993 ED Cal Petition Pending                                  31



                                                                     3
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11   Filed 09/26/14
                                                              Filed 06/11/14  Page 4 ofPage 4 of 17
                                                                                        17 Page   ID #:4888


Michael Morales      6/14/1983   91-00682 DT     Central      2/6/1991   Relief Denied (2005) / Execution Stayed               31
Kevin Malone         6/14/1983   96-04040 WJR    Central      6/7/1996   Executed by Missouri (1999)                            --
Gerald Gallego       6/21/1983   92-00653 SBA    Northern     2/4/1992   Deceased (2002)                                        --
William Proctor      6/28/1983   96-01401 JAM    Eastern     7/31/1996   ED Cal Petition Pending                               31
George Marshall      6/28/1983   97-05493 AWI    Eastern     5/12/1997   Deceased (2001)                                        --
Martin Gonzalez       7/8/1983                                           Deceased (1990)                                        --
Keith Adcox          7/11/1983   92-05830 LJO    Eastern     12/1/1992   State Proceedings Pending                             31
Francis Hernandez    7/12/1983   90-04638 RSWL   Central     8/28/1990   Circuit Appeal Pending                                31
Albert Howard         8/3/1983   93-05726 LJO    Eastern    10/25/1993   Deceased (2009)                                        --
Douglas Mickey       9/23/1983   93-00243 RMW    Northern    1/22/1993   Relief Denied (2010) / Execution Stayed               31
Alfred Dyer          9/26/1983   93-02823 VRW    Northern    7/29/1993   Relief Granted (1998)                                  --
Demetrie Mayfield    9/30/1983   94-06011 ER     Central      9/2/1994   Relief Granted (2001)                                  --
Constantino
Carrera              10/7/1983   90-00478 AWI    Eastern     7/31/1990   Relief Denied (2012) / Execution Stayed               31
John Visciotti      10/21/1983   97-04591 R      Central     6/23/1997   Circuit Appeal Pending                                31
Donald Miller       11/10/1983   91-02652 NM     Central     5/16/1991   Deceased (2005)                                        --
Robert Thompson      12/6/1983   90-06605 CBM    Central     12/5/1990   Deceased (2006)                                        --
David Mason          1/27/1984                   Eastern                 Executed (1993)                                        --
Jackson Daniels      1/31/1984   92-04683 JSL    Central      8/5/1992   Relief Granted (2006) / Resentenced to Death (2010)   30
Mark Reilly           2/1/1984   93-07055 JAK    Central    11/22/1993   CD Cal Petition Pending                               30
Andrew Robertson      2/3/1984   90-04850 CBM    Central     9/10/1990   Deceased (1998)                                        --
Donald Beardslee     3/13/1984   92-03990 SBA    Northern    10/1/1992   Executed (2005)                                        --
Michael Jennings     3/27/1984   89-01360 JW     Northern    3/19/1989   Relief Granted (2003)                                  --
Michael Hunter       3/28/1984   90-03275 JW     Northern   11/13/1990   Relief Granted (2001)                                  --
Charles Moore        5/16/1984   91-05976 KN     Central     11/1/1991   Relief Granted (1997) / Resentenced to Death (1998)   30
Michael Jackson      5/21/1984   91-04249 R      Central      8/8/1991   Relief Granted (2001) / Resentenced to Death (2002)   30
Scott Pinholster      6/4/1984   95-06240 GLT    Central     9/19/1995   Relief Denied (2011) / Execution Stayed               30
Richard Ramirez       6/4/1984   07-08310 BRO    Central    12/26/2007   Deceased (2013)                                        --
Jesse Andrews         6/8/1984   02-08969 R      Central    11/21/2002   Circuit Appeal Pending                                30
Robert Diaz          6/15/1984   93-06309 TJH    Central    10/19/1993   Deceased (2010)                                        --
Stephan Mitcham       7/6/1984   97-03825 LHK    Northern    8/10/1994   ND Cal Petition Pending                               30
Robert Bloom         7/23/1984   90-02581        Central     5/22/1990   Relief Granted (1997) / Resentenced to Death (2001)   30



                                                                     4
                                Case 3:11-cv-04454-SI
                         Case 2:09-cv-02158-CJC       Document
                                                 Document 110-1 28-11   Filed 09/26/14
                                                                Filed 06/11/14  Page 5 ofPage 5 of 17
                                                                                          17 Page   ID #:4889


Robert Bloom           7/23/1984                                           State Proceedings Pending                             30
Jay Kaurish            7/27/1984   92-01623 DT     Central     3/16/1992   Deceased (1992)                                        --
William Kirkpatrick    8/14/1984   96-00351 WDK    Central     1/18/1996   Circuit Appeal Pending                                30
Thomas Thompson        8/17/1984   89-03630 DT     Central     6/15/1989   Executed (1998)                                        --
Watson Allison         10/2/1984   92-06404 CAS    Central    10/26/1992   Relief Granted (2010)                                  --
Charles McDowell      10/23/1984   90-04009 MRP    Central     7/30/1990   Relief Granted (1998) / Resentenced to Death (1999)   30
Robert Lewis           11/1/1984                                           State Proceedings Pending                             30
Kenneth Lang           12/5/1984   91-04061 MMM    Central     7/29/1991   CD Cal Petition Pending                               30
Richard Boyer         12/14/1984   06-07584 GAF    Central    11/29/2006   Circuit Appeal Pending                                30
Thaddaeus Turner      12/21/1984   91-00153 LJO    Eastern      4/1/1991   Relief Granted (2009)                                  --
William Clark           2/1/1985   95-00334 DOC    Central     1/18/1995   Relief Granted (2006)                                  --
Earl Jones             2/22/1985   94-00816 TJH    Central      2/7/1994   Deceased (2006)                                        --
Ward Weaver             4/4/1985   02-05583 AWI    Eastern     5/17/2002   ED Cal Petition Pending                               29
Fred Douglas            4/5/1985   91-03055 RSWL   Central      6/6/1991   Relief Granted (2003)                                  --
Patrick Gordon          5/3/1985   91-00882 LKK    Eastern      7/5/1991   ED Cal Petition Pending                               29
Kevin Cooper           5/15/1985   92-00427 H      Southern    3/24/1992   Relief Denied (2009) / Execution Stayed               29
Charles Whitt          5/23/1985   94-07960 WJR    Central    11/23/1994   Deceased (2004)                                        --
Andre Burton            6/4/1985   91-01652 AHM    Central     3/27/1991   Circuit Appeal Pending                                29
Brian Mincey           6/14/1985   93-02554 PSG    Central      5/3/1993   CD Cal Petition Pending                               29
Randy Haskett          6/28/1985   92-06192 GAF    Central    10/15/1992   Relief Granted (2009)                                  --
Duane Holloway          7/8/1985   05-02089 KJM    Eastern    10/19/2005   ED Cal Petition Pending                               29
Robert Stansbury       7/15/1985   95-08532 WMB    Central    12/11/1995   Deceased (2003)                                        --
Richard Ramierz         8/8/1985   91-03802 CBM    Central     7/15/1998   Relief Granted (2009)                                  --
Raynard Cummings       9/20/1985   95-07118 CBM    Central    10/20/1995   Circuit Appeal Pending                                29
Kenneth Gay            9/20/1985   01-05368 GAF    Central     6/18/2001   State Proceedings Pending                             29
Michael Cox           11/26/1985   04-00065 MCE    Eastern      1/5/2004   ED Cal Petition Pending                               29
Jeffrey Sheldon       12/19/1985   96-05545 TJH    Central     8/13/1996   CD Cal Petition Pending                               29
Stephen DeSantis        2/3/1986   93-01083 FCD    Eastern      7/1/1993   Deceased (2002)                                        --
Michael Mattson         2/7/1986   91-05453 FMC    Central     10/8/1991   Deceased (2009)                                        --
Tiequon Cox            4/30/1986   92-03370 CBM    Central      6/4/1992   Relief Denied (2011) / Execution Stayed               28
Henry Duncan            5/5/1986   92-01403 AHS    Central      3/4/1992   Relief Granted (2008)                                  --
Ronald McPeters         5/7/1986   95-05108 LJO    Eastern     2/13/1995   ED Cal Petition Pending                               28


                                                                       5
                             Case 3:11-cv-04454-SI
                      Case 2:09-cv-02158-CJC       Document
                                              Document 110-1 28-11   Filed 09/26/14
                                                             Filed 06/11/14  Page 6 ofPage 6 of 17
                                                                                       17 Page   ID #:4890


Chay'im Ben-
Sholom               5/9/1986   93-05531 AWI    Eastern     8/10/1993   Relief Granted (2012)                                  --
Freddie Taylor      5/30/1986   92-01627 EMC    Northern    4/30/1992   ND Cal Petition Pending                               28
Ralph Thomas         6/4/1986   93-00616 MHP    Northern    2/18/1993   Relief Granted (2013)                                  --
Curtis Price        7/10/1986   93-00277 PJH    Northern    1/25/1993   ND Cal Petition Pending                               28
Barry Williams      7/11/1986   00-10637 DOC    Central     10/4/2000   CD Cal Petition Pending                               28
Anthony Sully       7/15/1986   92-00829 WHA    Northern    2/21/1992   Relief Denied (2013) / Execution Stayed               28
Troy Ashmus         7/25/1986   93-00594 THE    Northern    2/17/1993   ND Cal Petition Pending                               28
Mauricio Silva       8/1/1986                                           State Proceedings Pending                             28
Royal Hayes          8/8/1986   01-03926 MHP    Northern   10/18/2001   Relief Denied (2011) / Execution Stayed               28
Rodney Alcala       8/20/1986   94-1424 SVW     Central      3/4/1994   Relief Granted (2003) / Resentenced to Death (2010)   28
Antonio Espinoza    9/17/1986   94-01665 LKK    Eastern    10/13/1994   ED Cal Petition Pending                               28
Wilbur Jennings    11/12/1986   91-00684 AWI    Eastern    12/16/1991   Deceased (2014)                                        --
Robert Danielson   11/13/1986   95-02378 SI     Northern     7/8/1994   Deceased (1995)                                        --
Thomas Edwards     12/11/1986   93-07151 CJC    Central    11/26/1993   Relief Denied (2009) / Deceased (2009)                 --
Anderson
Hawthorne          12/19/1986   92-00488 JGD    Central    11/13/1995 CD Cal Petition Pending                                 28
Theodore Frank      2/23/1987   91-06287 AHS    Central    11/18/1991 Deceased (2001)                                          --
Teofilio Medina     2/25/1987   94-01892 RSWL   Central     3/25/1994 Circuit Appeal Pending                                  27
Christopher Day      3/3/1987                                         Deceased (1994)                                          --
David Breaux        3/12/1987   93-00570 JAM    Eastern      4/6/1993 ED Cal Petition Pending                                 27
Conrad Zapien       3/23/1987   94-01455 WDK    Central      3/7/1994 Circuit Appeal Pending                                  27
Richard Benson      4/30/1987   94-05363 AHM    Central      8/8/1994 Circuit Appeal Pending                                  27
Robert Nicolaus     6/23/1987   95-02335 MMC    Northern    9/17/1992 Deceased (2003)                                          --
Alfred Sandoval     6/30/1987   94-08206 R      Central     12/7/1994 Relief Granted (2001)                                    --
Steven Livaditis     7/8/1987   96-02833 SVW    Central     4/22/1996 CD Cal Petition Pending                                 27
Harold Memro
(Reno)              7/17/1987   96-02768 CBM    Central     4/18/1996   State Proceedings Pending                             27
George Wharton      7/22/1987   92-03469 CJC    Central      6/9/1992   Circuit Appeal Pending                                27
Robert Garceau      7/30/1987   95-05363 OWW    Eastern     5/12/1995   Deceased (2004)                                        --
Willie Johnson       8/5/1987   98-04043 SI     Northern   10/21/1998   ND Cal Petition Pending                               27
Timothy Pride        8/6/1987   93-00926 GEB    Eastern      6/9/1993   Deceased (1994)                                        --



                                                                    6
                            Case 3:11-cv-04454-SI
                     Case 2:09-cv-02158-CJC       Document
                                             Document 110-1 28-11   Filed 09/26/14
                                                            Filed 06/11/14  Page 7 ofPage 7 of 17
                                                                                      17 Page   ID #:4891


Bruce Morris       8/27/1987   92-00483 EJH    Eastern     3/27/1992 Relief Granted (2007)                        --
Jeffrey Wash        9/1/1987   95-01133 CAL    Northern     4/3/1995 Deceased (1996)                              --
Donrell Thomas     9/10/1987                                         Deceased (1992)                              --
Mitchell Sims      9/11/1987   95-05267 GHK    Central      8/8/1995 Relief Denied (2006) / Execution Stayed     27
Martin Kipp        9/18/1987   99-04973 ABC    Central     5/10/1999 CD Cal Petition Pending                     27
Paul Tuilaepa      9/25/1987   95-04619 DDP    Central     7/13/1995 State Proceedings Pending                   27
Fred Freeman       10/7/1987   99-20614 JW     Northern    9/22/1995 Deceased (2009)                              --
Kenneth Clair      12/4/1987   93-01133 CAS    Central     2/26/1993 Circuit Appeal Pending                      27
Keith Fudge       12/11/1987   95-05369 RGK    Central     8/11/1995 CD Cal Petition Pending                     27
Richard Clark     12/18/1987   97-20618 WHA    Northern     8/5/1994 Circuit Appeal Pending                      27
Michael Wader       1/5/1988   96-05482 HLH    Central      8/9/1996 Deceased (1997)                              --
Michael Hill       1/21/1988   94-00641 CW     Northern    2/24/1994 ND Cal Petition Pending                     26
William Noguera    1/29/1988   94-06417 CAS    Central     9/23/1994 CD Cal Petition Pending                     26
Horace Kelly       3/24/1988   98-02722 TJH    Central      4/6/1998 CD Cal Petition Pending                     26
Laverne Johnson     4/1/1988   95-00305 THE    Northern    1/26/1995 ND Cal Petition Pending                     26
Lance Osband        4/8/1988   97-00152 KJM    Eastern     1/30/1997 ED Cal Petition Pending                     26
Marcelino Ramos    4/27/1988   98-02037 AHS    Central     3/20/1988 Deceased (2007)                              --
David Rogers        5/2/1988                                         State Proceedings Pending                   26
Dennis Brewer
(Mayfield)          5/4/1988   97-03742 FMO    Central     5/19/1997   CD Cal Petition Pending                   26
Bill Bradford      5/11/1988   98-05799 RSWL   Central     7/20/1998   Deceased (2008)                            --
Curtis Fauber      5/16/1988   95-06601 GW     Central     10/3/1995   CD Cal Petition Pending                   26
David Raley        5/17/1988   93-02071 JW     Northern     6/1/1993   Relief Denied (2007) / Execution Stayed   26
Theodore Wrest     5/18/1988   95-00214 DDP    Central     1/11/1995   CD Cal Petition Pending                   26
William Hart       5/27/1988   05-03633 MMM    Central     5/16/2005   CD Cal Petition Pending                   26
Armenia Cudjo      5/31/1988   99-08089 JFW    Central      8/9/1999   Relief Granted (2013)                      --
Joselito Cinco     6/10/1988                                           Deceased (1988)                            --
David Carpenter    6/27/1988   00-03706 MMC    Northern    10/6/2000   ND Cal Petition Pending                   26
Richard Samayoa    6/28/1988   00-02118 W      Southern   10/16/2000   Relief Denied (2012) / Execution Stayed   26
Guy Rowland        6/29/1988   94-03037 WHA    Northern    8/26/1994   Circuit Appeal Pending                    26
Gary Hines          7/8/1988   98-00784 TLN    Eastern      5/1/1998   ED Cal Petition Pending                   26
Tracy Cain         7/12/1988   96-2584 ABC     Central     4/11/1996   Circuit Appeal Pending                    26


                                                                   7
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11   Filed 09/26/14
                                                              Filed 06/11/14  Page 8 ofPage 8 of 17
                                                                                        17 Page   ID #:4892


Dennis Webb          8/15/1988   97-00956 VAP   Central     2/13/1997    CD Cal Petition Pending                26
William Dennis        9/6/1988   98-021027      Northern    10/9/1998    ND Cal Petition Pending                26
Jerry Frye           9/12/1988   99-00628 LKK   Eastern     3/29/1999    ED Cal Petition Pending                26
Daniel Jenkins       10/6/1988   07-01918 JGB   Central     3/22/2007    State Proceedings Pending              26
Charles Riel        10/14/1988   01-00507 LKK   Eastern     3/14/2001    ED Cal Petition Pending                26
Richard Turner      10/19/1988   09-07449 BRO   Central    10/14/2009    State Proceedings Pending              26
Jose Rodrigues      10/21/1988   96-01831 CW    Northern    5/17/1996    ND Cal Petition Pending                26
Sammy Marshall      10/27/1988                                           Deceased (1997)                         --
Teddy Sanchez       10/31/1988   97-06134 AWI   Eastern    11/20/1997    ED Cal Petition Pending                26
Aurthur Halvorsen   11/18/1988                                           State Proceedings Pending              26
Rodney Berryman     11/28/1988   95-05309 AWI   Eastern     4/27/1995    Circuit Appeal Pending                 26
Max Barnett         11/30/1988   99-02416 JAM   Eastern     12/8/1999    State Proceedings Pending              26
Manuel Mendoza        1/6/1989   03-06194 SJO   Central     8/29/2003    CD Cal Petition Pending                25
Herbert
Coddington           1/20/1989   01-01290 KJM   Eastern      7/3/2001 ED Cal Petition Pending                   25
Reynaldo Ayala        2/9/1989   01-00741 BTM   Southern    4/27/2001 Circuit Appeal Pending                    25
Lester Ochoa         3/20/1989   99-11129 DSF   Central    10/22/1999 CD Cal Petition Pending                   25
Drax Quartermain     4/10/1989                                        Deceased (2005)                            --
Rodney Beeler         5/5/1989   96-00606 GW    Central     1/29/1996 CD Cal Petition Pending                   25
James Scott          5/18/1989   03-00978 ODW   Central     2/10/2003 CD Cal Petition Pending                   25
Jeffrey Kolmetz      5/18/1989                                        Deceased (1996)                            --
Steven Crittenden    6/12/1989   95-01957 KJM   Eastern    10/26/1995 Circuit Appeal Pending                    25
Jack Farnam          6/15/1989   06-00917 SJO   Central     2/15/2006 State Proceedings Pending                 25
Albert Cunningham    6/16/1989   02-07170 GHK   Central     9/13/2002 Relief Denied (2013) / Execution Stayed   25
Louis Craine         6/27/1989                                        Deceased (1989)                            --
George Smithey       7/18/1989                                        Deceased (2010)                            --
David Welch          7/25/1989   00-20242 RMW   Northern    2/28/2000 State Proceedings Pending                 25
Ronald Seaton        7/27/1989   04-09339 FMO   Central    11/12/2004 CD Cal Petition Pending                   25
James Blair           8/9/1989   06-04550 VAP   Central     7/20/2006 CD Cal Petition Pending                   25
Cynthia Coffman      8/31/1989   06-07304 ABC   Central    11/15/2006 CD Cal Petition Pending                   25
Robert Fairbank       9/5/1989   98-01027 CRB   Northern    3/16/1998 Relief Denied (2011) / Execution Stayed   25
Manuel Alvarez       9/14/1989   97-01895 GEB   Eastern     10/8/1997 ED Cal Petition Pending                   25



                                                                     8
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11   Filed 09/26/14
                                                              Filed 06/11/14  Page 9 ofPage 9 of 17
                                                                                        17 Page   ID #:4893


David Lucas          9/19/1989                                          State Proceedings Pending                25
David Rundle         9/21/1989   08-01879 TLN   Eastern     8/13/2008   ED Cal Petition Pending                  25
Robert Maury        10/27/1989   12-01043 WBS   Eastern     4/19/2012   ED Cal Petition Pending                  25
Terry Bemore         11/2/1989   08-00311 LAB   Southern    2/15/2008   Circuit Appeal Pending                   25
Stanley Davis       11/15/1989                                          State Proceedings Pending                25
Randy Kraft         11/29/1989   01-04623 AG    Central     5/23/2001   CD Cal Petition Pending                  25
Hector Ayala        11/30/1989   01-01322 IEG   Southern    7/20/2001   Circuit Appeal Pending                   25
Jeffrey Hawkins      1/31/1990   96-01155 TLN   Eastern     6/19/1996   ED Cal Petition Pending                  24
Dean Carter           2/6/1990   06-04532 RGK   Central     7/20/2006   Circuit Appeal Pending                   24
Jon Dunkle            2/7/1990   06-04115 PJH   Northern    6/30/2006   ND Cal Petition Pending                  24
Alfredo Padilla       2/7/1990   01-06305 LJO   Eastern     10/4/2001   Deceased (2008)                           --
Fermin Ledesma        2/7/1990   07-02130 PJH   Northern    4/17/2007   State Proceedings Pending                24
Pedro Arias          2/22/1990   99-00627 WBS   Eastern     3/29/1999   ED Cal Petition Pending                  24
Dennis Lawley        2/26/1990   08-01425 LJO   Eastern     9/23/2008   Deceased (2012)                           --
Larry Davis Jr.       3/8/1990   96-002443 DT   Central      4/5/1996   Relief Denied (2004) / Deceased (2005)    --
Mario Gray           3/14/1990   07-05935 DSF   Central     9/12/2007   Deceased (2013)                           --
Mark Schmeck          4/5/1990   13-05415 RS    Northern   11/21/2013   ND Cal Petition Pending                  24
Tracey Carter        4/20/1990   04-06524 DDP   Central      8/6/2004   State Proceedings Pending                24
Christopher Tobin    4/24/1990                                          State Proceedings Pending                24
Richard Letner       4/24/1990                                          State Proceedings Pending                24
Jerry Bailey         5/16/1990                                          Deceased (1998)                           --
John Holt            5/30/1990   97-06210 AWI   Eastern    12/15/1997   State Proceedings Pending                24
Maureen
McDermott             6/8/1990   04-00457 DOC   Central     1/26/2004 CD Cal Petition Pending                    24
Mark Bradford         7/3/1990   97-06221 TJH   Central     8/19/1997 CD Cal Petition Pending                    24
Steven Catlin         7/6/1990   07-01466 LJO   Eastern     10/5/2007 ED Cal Petition Pending                    24
Ralph Yeoman         7/10/1990                                        Deceased (2014)                             --
Raymond Steele       7/24/1990   03-00143 GEB   Eastern     1/24/2003 ED Cal Petition Pending                    24
Jarvis Masters       7/30/1990                                        State Proceedings Pending                  24
Kurt Michaels        7/31/1990   04-00122 JAH   Southern    1/16/2004 SD Cal Petition Pending                    24
Roland Comtois       7/31/1990                                        Deceased (1994)                             --
Joseph Muselwhite    9/25/1990   01-01443 LKK   Eastern     7/26/2001 Deceased (2010)                             --


                                                                    9
                               Case 3:11-cv-04454-SI
                        Case 2:09-cv-02158-CJC       Document
                                                Document 110-1 28-11    Filed 09/26/14
                                                                Filed 06/11/14          Page
                                                                                Page 10 of 17 10 of 17
                                                                                              Page   ID #:4894


Kristin Hughes         10/2/1990   03-02666 JSW   Northern     6/6/2003 ND Cal Petition Pending                  24
Evan Nakahara          11/6/1990   05-04604 DDP   Central     6/24/2005 CD Cal Petition Pending                  24
Isaac Gutierrez Jr.   11/14/1990   05-03706 DOC   Central     5/18/2005 Deceased (2008)                           --
Paul Brown            11/16/1990                                        Deceased (2004)                           --
Milton Lewis           12/6/1990   02-00013 TLN   Eastern      1/3/2002 ED Cal Petition Pending                  24
Ramon Salcido         12/17/1990   09-00586 MMC   Northern     2/9/2009 State Proceedings Pending                24
Raymond Gurule        12/19/1990                                        Deceased (2007)                           --
Carmen Ward            1/28/1991   06-02009 PA    Central               State Proceedings Pending                23
James Majors            2/4/1991   99-00493 MCE   Eastern     3/12/1999 ED Cal Petition Pending                  23
Christopher Box        2/22/1991   04-00619 AJB   Southern    3/26/2004 State Proceedings Pending                23
Paul Bolin             2/25/1991   99-05279 LJO   Eastern     3/11/1999 ED Cal Petition Pending                  23
Raymond Lewis           3/6/1991   03-06775 LJO   Eastern     12/9/2003 ED Cal Petition Pending                  23
Tauro Waidla            3/8/1991   01-00650 AG    Central     1/22/2001 CD Cal Petition Pending                  23
Richard Moon           5/19/1991   08-08327 JAK   Central    12/17/2008 State Proceedings Pending                23
Robert McDonald        5/31/1991                                        Deceased (1993)                           --
Ronald Jones            6/4/1991   98-10318 JLS   Central    12/28/1998 CD Cal Petition Pending                  23
John Sapp              6/21/1991   04-04163 JSW   Northern    9/30/2004 State Proceedings Pending                23
Paul Watson            6/27/1991                                        State Proceedings Pending                23
Curtis Ervin           6/28/1991   00-01228 CW    Northern    4/10/2000 ND Cal Petition Pending                  23
Clifford Bolden        7/19/1991   09-02365 PJH   Northern    5/28/2009 State Proceedings Pending                23
Jesse Gonzalez         7/28/1991   95-02345 JVS   Central     4/12/1995 State Proceedings Pending                23
Martin Navarette       8/14/1991   11-07066 VAP   Central     8/26/2011 State Proceedings Pending                23
Anthony Townsel        9/13/1991                                        State Proceedings Pending                23
James O'Malley        11/21/1991                                        State Proceedings Pending                23
Michael Slaughter     11/27/1991   05-00922 AWI   Eastern     7/18/2005 State Proceedings Pending                23
Michael Jones         12/13/1991   04-02748 ODW   Central     4/20/2004 CD Cal Petition Pending                  23
Dellano Cleveland     12/19/1991   05-03822 SVW   Central     5/24/2005 CD Cal Petition Pending                  23
Deondre Staten         1/16/1992   01-09178 MWF   Central    10/24/2001 CD Cal Petition Pending                  22
Richard Farley         1/17/1992                                        State Proceedings Pending                22
Chauncey Veasley       1/21/1992   05-03822 SVW   Central     4/12/2005 CD Cal Petition Pending                  22
Robert Taylor          1/30/1992   07-06602 FMO   Central    10/11/2007 CD Cal Petition Pending                  22
Edward Bridges         2/20/1992                                        Deceased (2008)                           --


                                                                     10
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11    Filed 09/26/14
                                                               Filed 06/11/14          Page
                                                                               Page 11 of 17 11 of 17
                                                                                             Page   ID #:4895


Ricky Earp            2/21/1992   00-06508 MMM    Central     6/19/2000 CD Cal Petition Pending                 22
Colin Dickey          2/27/1992   06-00357 AWI    Eastern     3/31/2006 ED Cal Petition Pending                 22
Billy Waldon          2/28/1992                                         State Proceedings Pending               22
Jose Casares          3/13/1992                                         State Proceedings Pending               22
Richard Viera         3/30/1992   05-01492 AWI    Eastern    11/22/2005 ED Cal Petition Pending                 22
Gregory Smith          4/3/1992   05-08017 DSF    Central     11/9/2005 State Proceedings Pending               22
Franklin Lynch        4/28/1992                                         State Proceedings Pending               22
James Marlow           5/8/1992   05-06477 ABC    Central     8/31/2005 CD Cal Petition Pending                 22
Paul Watkins          5/11/1992                                         State Proceedings Pending               22
Thomas Walker         5/12/1992                                         Deceased (1997)                          --
Andrew Brown          5/21/1992   04-03931 AG     Central      6/2/2004 CD Cal Petition Pending                 22
Alfredo Valdez        5/22/1992   10-05252 BRO    Central     7/16/2010 State Proceedings Pending               22
Marchand Elliott       6/3/1992                                         State Proceedings Pending               22
Alfredo Prieto        6/18/1992   05-07566 AG     Central    10/20/2005 State Proceedings Pending               22
Jack Friend           6/19/1992                                         State Proceedings Pending               22
Maria Alfaro          7/14/1992   07-07072 CJC    Central    10/30/2007 CD Cal Petition Pending                 22
Stephen Cole          7/16/1992   05-04971 DMG    Central      7/7/2005 CD Cal Petition Pending                 22
Gregory Smith         8/14/1992   04-03436 JSW    Northern    8/19/2004 ND Cal Petition Pending                 22
Rodney San Nicolas    8/31/1992   06-00942 LJO    Eastern     7/20/2006 ED Cal Petition Pending                 22
Jessie Ray Moffett     9/2/1992                                         Deceased (1998)                          --
James Tulk            10/9/1992                                         Deceased (2006)                          --
Dannie Hillhouse     10/13/1992   03-00142 MCE    Eastern     1/24/2003 ED Cal Petition Pending                 22
Alphonso Howard      10/20/1992   08-06851 DDP    Central    10/17/2008 CD Cal Petition Pending                 22
Rudolph Roybal       10/20/1992   99-02152 JM     Southern    10/5/1999 SD Cal Petition Pending                 22
David Williams       10/20/1992   12-03975 AG     Central      5/7/2012 State Proceedings Pending               22
Gerald Cruz          10/26/1992                                         State Proceedings Pending               22
James Beck           10/27/1992                                         State Proceedings Pending               22
Richard Tully         12/4/1992                                         State Proceedings Pending               22
Sergio Ochoa         12/10/1992   02-07774 RSWL   Central     10/4/2002 CD Cal Petition Pending                 22
George Williams      12/21/1992                                         State Proceedings Pending               22
Ricardo Roldan       12/29/1992   09-06589 DOC    Central     9/10/2009 CD Cal Petition Pending                 22
William Ramos          1/8/1993   05-03752 SI     Northern    9/16/2005 ND Cal Petition Pending                 21


                                                                     11
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11    Filed 09/26/14
                                                               Filed 06/11/14          Page
                                                                               Page 12 of 17 12 of 17
                                                                                             Page   ID #:4896


John Lewis             3/3/1993   11-06395 JAK   Central      8/3/2011 CD Cal Petition Pending                  21
Gregory Tate           3/5/1993                                        State Proceedings Pending                21
Joseph Danks           4/2/1993   11-00223 LJO   Eastern      2/9/2011 State Proceedings Pending                21
Erik Chatman           4/9/1993   07-00640 WHA   Northern    1/31/2007 State Proceedings Pending                21
Maurice Boyette        5/7/1993   13-04376 WHO   Northern    9/20/2013 ND Cal Petition Pending                  21
Omar Martinez         5/10/1993   04-09090 PA    Central     11/3/2004 State Proceedings Pending                21
Anthony Oliver        5/21/1993   10-08404 ODW   Central     11/4/2010 CD Cal Petition Pending                  21
Albert Lewis          5/21/1993   11-00766 ODW   Central     1/26/2011 State Proceedings Pending                21
Latwon Weaver         5/28/1993   12-02140 MMA   Southern    8/30/2012 SD Cal Petition Pending                  21
Warren Bland          5/28/1993                                        Deceased (2001)                           --
Catherine
Thompson              6/10/1993                                        State Proceedings Pending                21
Vincente Benavides    6/16/1993                                        State Proceedings Pending                21
Michael Combs         6/21/1993 05-0 4777 ODW    Central     6/30/2005 CD Cal Petition Pending                  21
Robert Curl           7/15/1993                                        State Proceedings Pending                21
Mark Crew             7/22/1993 12-04259 YGR     Northern    8/13/2012 ND Cal Petition Pending                  21
Charles Stevens       7/30/1993 09-00137 WHA     Northern    1/12/2009 ND Cal Petition Pending                  21
Christian
Monterroso            8/12/1993   12-07888 DMG   Central     9/13/2012 CD Cal Petition Pending                  21
Corvin Emdy           8/19/1993                                        Deceased (1993)                           --
Richard Dehoyos       8/27/1993                                        State Proceedings Pending                21
Cedric Harrison       8/30/1993   09-05045 JW    Northern   10/22/2009 Deceased (2009)                           --
Enrique Zambrano       9/8/1993   09-04917 LHK   Northern   10/15/2009 ND Cal Petition Pending                  21
Eric Houston          9/20/1993   13-05609 WHA   Northern    12/4/2013 ND Cal Petition Pending                  21
Robert Smith          9/24/1993   11-03062 EJD   Northern    6/21/2011 ND Cal Petition Pending                  21
James Heard           9/28/1993                                        State Proceedings Pending                21
Cleophus Prince       11/5/1993                                        State Proceedings Pending                21
Abelino Manriquez    11/16/1993                                        State Proceedings Pending                21
Herbert Koontz       11/19/1993   03-01613 FCD   Eastern     7/31/2003 Deceased (2007)                           --
Eric Hinton          12/10/1993   10-06714 DMG   Central      9/9/2010 CD Cal Petition Pending                  21
Michael Huggins      12/17/1993   06-07254 YGR   Northern   11/22/2006 State Proceedings Pending                21
Jerry Kennedy        12/20/1993   13-02041 LKK   Eastern     10/1/2013 ED Cal Petition Pending                  21


                                                                    12
                              Case 3:11-cv-04454-SI
                       Case 2:09-cv-02158-CJC       Document
                                               Document 110-1 28-11    Filed 09/26/14
                                                               Filed 06/11/14          Page
                                                                               Page 13 of 17 13 of 17
                                                                                             Page   ID #:4897


Lanell Harris         1/12/1994                                       State Proceedings Pending                 20
Steven Bell            3/7/1994                                       State Proceedings Pending                 20
Robert Wilson          4/8/1994 07-00519 MWF     Central    1/22/2007 CD Cal Petition Pending                   20
Christopher
Sattiewhite           4/25/1994                                         State Proceedings Pending               20
Tim Depriest          5/27/1994   07-06025 JLS   Central    9/17/2007   CD Cal Petition Pending                 20
Delaney Marks          6/3/1994   11-02458 LHK   Northern   5/19/2011   ND Cal Petition Pending                 20
Brian Johnsen          6/9/1994                                         State Proceedings Pending               20
Milton Pollock        6/10/1994   05-01870 SI    Northern    5/5/2005   State Proceedings Pending               20
James Robinson        6/17/1994                                         State Proceedings Pending               20
Jaime Hoyos           7/11/1994   09-00388 L     Southern   2/26/2009   SD Cal Petition Pending                 20
Phillip Jablonski     8/12/1994   07-03302 SI    Northern   6/22/2007   State Proceedings Pending               20
Walter Cook            9/2/1994                                         State Proceedings Pending               20
Tomas Cruz             9/9/1994   13-02792 JST   Northern   6/18/2013   ND Cal Petition Pending                 20
Joseph Cook           9/16/1994   12-08142 CJC   Central    9/20/2012   CD Cal Petition Pending                 20
Mary Samuels          9/16/1994   10-03225 SJO   Central    4/29/2010   CD Cal Petition Pending                 20
Shaun Burney          9/16/1994   10-00546 RGK   Central    1/26/2010   State Proceedings Pending               20
Bryan Jones           9/19/1994                                         State Proceedings Pending               20
Ronnie Dement         9/26/1994                                         State Proceedings Pending               20
Robert Jurado         10/1/1994   08-01400 JLS   Southern   7/31/2008   SD Cal Petition Pending                 20
Billy Riggs          10/28/1994   09-04624 JAK   Central    6/26/2009   State Proceedings Pending               20
Carl Powell          11/10/1994                                         State Proceedings Pending               20
Celeste Carrington   11/23/1994   10-04179 RS    Northern   9/16/2010   ND Cal Petition Pending                 20
Steven Bonilla        1/20/1995   08-00471 CW    Northern   1/22/2008   ND Cal Petition Pending                 19
Anthony Bankston      1/20/1995                                         State Proceedings Pending               19
Edgardo Sanchez-
Fuentes               1/20/1995                                       State Proceedings Pending                 19
Danny Horning         1/26/1995 10-01932 JAM     Eastern    7/21/2010 State Proceedings Pending                 19
Randall Wall          1/30/1995                                       State Proceedings Pending                 19
Steven Homick         1/31/1995                                       State Proceedings Pending                 19
Royal Clark            2/3/1995 12-00803 LJO     Eastern    5/16/2012 State Proceedings Pending                 19
Raymond Johns          2/8/1995                                       Deceased (2004)                            --


                                                                   13
                             Case 3:11-cv-04454-SI
                      Case 2:09-cv-02158-CJC       Document
                                              Document 110-1 28-11    Filed 09/26/14
                                                              Filed 06/11/14          Page
                                                                              Page 14 of 17 14 of 17
                                                                                            Page   ID #:4898


Keith Loker          2/10/1995                                           State Proceedings Pending             19
Johnny Avila         3/21/1995   11-01196 AWI    Eastern     7/19/2011   State Proceedings Pending             19
Randy Garcia         3/23/1995                                           State Proceedings Pending             19
Hooman Panah         3/26/1995   05-07606 RGK    Central    10/21/2005   Circuit Appeal Pending                19
Ernest Jones          4/7/1995   09-002158 CJC   Central     3/27/2009   CD Cal Petition Pending               19
Glen Cornwell        4/21/1995   06-00705 TLN    Eastern     3/31/2006   ED Cal Petition Pending               19
Mark Thornton        5/15/1995                                           State Proceedings Pending             19
Greg Demetrulias     5/22/1995   07-01335 DOC    Central     2/28/2007   Circuit Appeal Pending                19
Kerry Dalton         5/23/1995                                           State Proceedings Pending             19
Regis Thomas         6/15/1995                                           State Proceedings Pending             19
Lester Virgil        6/29/1995                                           State Proceedings Pending             19
Johnaton George      7/17/1995                                           State Proceedings Pending             19
Christopher Geier    7/21/1995   10-04676 R      Central     6/24/2010   State Proceedings Pending             19
Charles Rountree     8/11/1995                                           State Proceedings Pending             19
Christopher
Lightsey             8/15/1995                                         State Proceedings Pending               19
Sergio Nelson         9/9/1995                                         State Proceedings Pending               19
Thomas Lenart        10/6/1995 05-01912 MCE      Eastern     9/21/2005 State Proceedings Pending               19
John Beames         10/11/1995 10-01429 AWI      Eastern      8/9/2010 ED Cal Petition Pending                 19
Paul Hensley        10/13/1995                                         State Proceedings Pending               19
Loi Vo              10/18/1995                                         State Proceedings Pending               19
Stephen Hajek       10/18/1995                                         State Proceedings Pending               19
Donald Smith        10/19/1995                                         State Proceedings Pending               19
Leroy Wheeler       10/19/1995                                         State Proceedings Pending               19
Stanley Bryant      10/19/1995                                         State Proceedings Pending               19
William Suff        10/26/1995                                         State Proceedings Pending               19
William Suff        10/26/1995                                         State Proceedings Pending               19
Caroline Young      10/27/1995                                         Deceased (2005)                          --
Douglas Kelly        11/8/1995                                         State Proceedings Pending               19
Ernest Dykes        11/30/1995 11-04454 SI       Northern     9/7/2011 ND Cal Petition Pending                 19
Demetrius Howard     12/7/1995                                         State Proceedings Pending               19
John Cunningham      1/12/1996                                         State Proceedings Pending               18



                                                                    14
                            Case 3:11-cv-04454-SI
                     Case 2:09-cv-02158-CJC       Document
                                             Document 110-1 28-11    Filed 09/26/14
                                                             Filed 06/11/14          Page
                                                                             Page 15 of 17 15 of 17
                                                                                           Page   ID #:4899


Alfredo Valencia    1/23/1996                                          State Proceedings Pending              18
Valamir Morelos     2/21/1996                                          State Proceedings Pending              18
Jerry Rodriguez     2/21/1996                                          State Proceedings Pending              18
Steven Brown        2/23/1996                                          State Proceedings Pending              18
Dexter Williams     2/28/1996   12-01344 LJO   Eastern     8/17/2012   ED Cal Petition Pending                18
Richard Gamache      4/2/1996                                          State Proceedings Pending              18
Andre Alexander     4/23/1996   11-07404 JAK   Central      9/8/2011   State Proceedings Pending              18
Frank Carter        4/25/1996                                          Deceased (2001)                         --
Robert Cowan         5/8/1996                                          State Proceedings Pending              18
Dennis Ervine       5/31/1996                                          State Proceedings Pending              18
Keith Taylor         6/5/1996                                          State Proceedings Pending              18
Eric Leonard        6/13/1996                                          State Proceedings Pending              18
Keith Doolin        6/18/1996   09-01453 AWI   Eastern     8/17/2009   State Proceedings Pending              18
Daniel Whalen       6/24/1996                                          State Proceedings Pending              18
Edward Morgan       7/19/1996                                          State Proceedings Pending              18
Clifton Perry       7/26/1996   11-01367 AWI   Eastern     8/16/2011   State Proceedings Pending              18
Raymond Butler      7/29/1996                                          State Proceedings Pending              18
Lamar Barnwell       8/9/1996                                          State Proceedings Pending              18
Freddie Fuiava      8/19/1996   12-10646 VAP   Central    12/12/2013   CD Cal Petition Pending                18
Christopher Self    8/28/1996                                          State Proceedings Pending              18
Albert Jones        9/20/1996                                          State Proceedings Pending              18
John Riccardi       9/20/1996                                          State Proceedings Pending              18
Bob Williams        9/20/1996   09-01068 AWI   Eastern     6/17/2009   State Proceedings Pending              18
Richard Davis       9/26/1996   13-00408 EMC   Northern    1/29/2013   ND Cal Petition Pending                18
Richard Leon        10/1/1996                                          State Proceedings Pending              18
Richard Parson     10/11/1996                                          Deceased (2011)                         --
Darrel Lomax       10/16/1996   11-01746 JLS   Central     2/28/2011   State Proceedings Pending              18
Charles Case       10/25/1996                                          State Proceedings Pending              18
James Thompson     10/26/1996                                          State Proceedings Pending              18
Michael Elliot     10/31/1996                                          State Proceedings Pending              18
Christopher
Spencer             11/7/1996                                          State Proceedings Pending              18



                                                                  15
                            Case 3:11-cv-04454-SI
                     Case 2:09-cv-02158-CJC       Document
                                             Document 110-1 28-11    Filed 09/26/14
                                                             Filed 06/11/14          Page
                                                                             Page 16 of 17 16 of 17
                                                                                           Page   ID #:4900


Brandon Taylor     11/13/1996                                     State Proceedings Pending                   18
George Contreras   12/11/1996                                     State Proceedings Pending                   18
Dewayne Carey      12/16/1996                                     State Proceedings Pending                   18
Michael Pearson    12/18/1996                                     State Proceedings Pending                   18
Scott Collins      12/19/1996 13-07334 JFW   Central    10/3/2013 CD Cal Petition Pending                     18
Maurice Harris     12/20/1996 13-04026 PA    Central     6/5/2013 CD Cal Petition Pending                     18
Richard Foster     12/31/1996                                     State Proceedings Pending                   18
Michael Ihde         1/3/1997                                     Deceased (2005)                              --
Eric Bennet          1/9/1997                                     State Proceedings Pending                   17
Herbert McClain     1/21/1997                                     State Proceedings Pending                   17
Karl Holmes         1/21/1997                                     State Proceedings Pending                   17
Lorenzo Newborn     1/21/1997                                     State Proceedings Pending                   17
Stephen Redd        2/28/1997                                     State Proceedings Pending                   17
Jeffery Mills       3/10/1997                                     State Proceedings Pending                   17
Joseph Montes       3/18/1997                                     State Proceedings Pending                   17
Johnny Mungia        4/7/1997                                     State Proceedings Pending                   17
Johnathan D'Arcy    4/11/1997                                     State Proceedings Pending                   17
Jimmy Palma         6/11/1997                                     Deceased (1997)                              --
Richard Valdez      6/11/1997                                     State Proceedings Pending                   17
Daniel Silveria     6/13/1997                                     State Proceedings Pending                   17
John Travis         6/13/1997                                     State Proceedings Pending                   17
Robert Scully       6/13/1997                                     State Proceedings Pending                   17
Ramon Rogers        6/30/1997                                     State Proceedings Pending                   17
Lawrence Bergman     7/8/1997                                     Deceased (2009)                              --
Bobby Lopez         7/11/1997                                     State Proceedings Pending                   17
Michael Martinez    8/29/1997                                     State Proceedings Pending                   17
Carlos Hawthorne     9/5/1997                                     State Proceedings Pending                   17
John Famalaro        9/5/1997                                     State Proceedings Pending                   17
Michael Bramit      9/15/1997                                     State Proceedings Pending                   17
Royce Scott         9/17/1997                                     State Proceedings Pending                   17
John Abel           9/26/1997                                     State Proceedings Pending                   17
Ronald Mendoza     10/27/1997                                     State Proceedings Pending                   17


                                                               16
                             Case 3:11-cv-04454-SI
                      Case 2:09-cv-02158-CJC       Document
                                              Document 110-1 28-11    Filed 09/26/14
                                                              Filed 06/11/14          Page
                                                                              Page 17 of 17 17 of 17
                                                                                            Page   ID #:4901


Terrance Page       10/31/1997                                              Deceased (2008)                                                          --
Frank Becerra       10/31/1997                                              State Proceedings Pending                                               17
Sean Vines           11/7/1997                                              State Proceedings Pending                                               17
Herminio Serna      11/21/1997                                              State Proceedings Pending                                               17
James Trujeque      11/21/1997                                              State Proceedings Pending                                               17
Frank Abilez         12/4/1997                                              Deceased (2012)                                                          --
Gunner Lindberg     12/12/1997 09-05509 MWF        Central        7/28/2009 State Proceedings Pending                                               17
Floyd Smith         12/14/1997                                              State Proceedings Pending                                               17
Bill Poyner         12/16/1997                                              Deceased (1998)                                                          --
Martin Mendoza      12/23/1997                                              State Proceedings Pending                                               17
William Clark       12/29/1997                                              State Proceedings Pending                                               17




       1
         The chart describes the case status of any individual sentenced in 1997 or earlier because all such individuals, unless deceased,
       executed, or granted a writ of habeas corpus, have spent at least 17 years on Death Row, the amount of time Justice Stevens posited
       might be constitutionally problematic in Lackey v. Texas, 514 U.S. 1045 (1995) (Stevens, J., respecting the denial of certiorari). In
       total, 366 of the 746 inmates currently on California’s Death Row were sentenced to death 17 or more years ago. For all but a small
       handful of those individuals sentenced to death after 1997, state proceedings are still ongoing, and none have completed the federal
       habeas process.
       2
         The chart was compiled using publicly available information from the court dockets of the four federal judicial districts in California,
       the public docket of the California Supreme Court, and the California Department of Corrections and Rehabilitation’s (“CDCR”) list of
       condemned inmates, which is available at http://www.cdcr.ca.gov/capital_punishment/docs/condemnedinmatelistsecure.pdf, and
       the CDCR’s list of condemned inmates who have died since 1978, which is available at
       http://www.cdcr.ca.gov/Capital_Punishment/docs/CONDEMNEDINMATESWHOHAVEDIEDSINCE1978.pdf.
       3
          Federal habeas proceedings are initiated when the petitioner seeks appointment of federal habeas counsel, not when the
       petitioner’s federal writ of habeas corpus is filed. Some individuals that have initiated federal habeas proceedings may still have
       state proceedings pending for exhaustion purposes. In such cases, the federal petition is effectively stayed while the state
       proceedings are completed.




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